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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                  8:16CR213
                                                )
       vs.                                      )                    ORDER
                                                )
ALEX PEARSON,                                   )
                                                )
                      Defendant.                )


       This matter is before the court on the motion of defendant Alex Pearson (Pearson) to
order the continued availability of material witness for trial (Filing No. 15). The motion was not
accompanied by a brief in accordance with the rules of this court. See NECrimR 12.3(b)(1).
Accordingly, Pearson’s motion is deemed abandoned and denied, without prejudice.


       IT IS SO ORDERED.


       DATED this 3rd day of August, 2016.


                                                    BY THE COURT:
                                                    s/ Thomas D. Thalken

                                                    United States Magistrate Judge
